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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


   IN RE:                                     )      CASE NO.       16-64206-WLH
                                              )
   ROBERT RAMON HARRIS, III,                  )      CHAPTER        7
                                              )
            Debtor.                           )
                                              )

                       TRUSTEE’S REPORT OF NO DISTRIBUTION

            I, Neil C. Gordon, having been appointed trustee of the estate of the

   above-named Debtor, report I collected funds totaling $5,850.00 representing the

   Debtor’s 2016 federal tax refund (the “Tax Refund”). I have made a diligent

   inquiry into the financial affairs of the Debtor and the location of the property

   belonging to the estate and have determined there is no property available for

   distribution from the estate over and above that exempted by law. Debtor filed a

   Motion to Determine Exempt Status of 2016 Tax Refund [Docket No. 25]. A

   Consent Order granting the Motion was entered by the Court on March 7, 2018

   [Docket No. 26] and the funds disbursed to Debtor. Debtor refused to cash the

   estate’s check because the Internal Revenue Service had remitted a duplicate

   payment of the Tax Refund to the Debtor directly, which he promptly deposited.

   The Internal Revenue Service has yet to request repayment of the duplicated

   Tax Refund. Therefore, Trustee filed a Notice to Deposit Unclaimed Funds into

   the Court Registry [Docket No. 33]. All bank statements and cancelled checks

   have been submitted to the United States Trustee. The bank statements reflect




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   a final zero balance and no other funds or assets of the estate remain in my

   custody. Pursuant to Fed R Bank P 5009, I hereby certify that the estate of the

   above-named Debtor has been fully administered. I request that I be discharged

   from any further duties as trustee.

                                            Respectfully submitted,


                                            ARNALL GOLDEN GREGORY LLP
                                            /s/ Neil C. Gordon
                                            Neil C. Gordon, Chapter 7 Trustee
                                            State Bar No. 302387
                                            171 17th Street, N.W., Suite 2100
                                            Atlanta, Georgia 30363-1031
                                            (404) 873-8596/Neil.Gordon@agg.com




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                               CERTIFICATE OF SERVICE

           This is to certify that I have served the foregoing CHAPTER 7 TRUSTEE’S

   REPORT OF NO DISTRIBUTION via hand delivery to:


   United States Trustee
   352 Richard Russell Building
   75 Ted Turner Drive, S.W.
   Atlanta, Georgia 30303

   Lauren A, Drayton
   The Semrad Law Firm, LLC
   Suite 201
   303 Perimeter Center North
   Atlanta, GA 30346

   Jonathan A. Proctor
   The Semrad Law Firm, LLC
   Suite 201
   303 Perimeter Center North
   Atlanta, GA 30346

   Robert Ramon Harris, III
   141 Tara Blvd.
   Loganville, GA 30052


           This 8th day of November, 2019.


                                                 /s/ Neil C. Gordon
                                                 Neil C. Gordon




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